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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:11-CR-0000188
12                                Plaintiff,             STIPULATION AND ORDER REGARDING
                                                         BRIEFING SCHEDULE ON DEFENDANT’S
13                          v.                           MOTION FOR REDUCTION IN SENTENCE AND
                                                         COMPASSIONATE RELEASE
14   KENNETH HERNANDEZ,
15                                Defendant.
16

17                                                   STIPULATION
18          1.      Defendant Kenneth Hernandez filed a pro se motion for reduction in sentence and
19 compassionate release on July 6, 2020. Docket No. 166. On July 9, 2020, the Court referred the case to
20 the Federal Defender’s Office and directed the parties to confer by July 14 in an attempt to stipulate to a

21 briefing schedule. Docket No. 167. On July 14, 2020, the Court appointed counsel for the defendant.

22 Docket No. 168. The parties conferred and agree to the following schedule:

23                  a. September 1, 2020: defendant’s supplemental briefing;
24                  b. September 15, 2020: government’s response;
25                  c. September 18,2020: defendant’s reply
26          2. Counsel for the defendant agrees with this request.
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 1          2.     The parties desire additional time for briefing on defendant’s motion. Accordingly, by

 2 this stipulation, the parties now move that:

 3                 a)      The defendant’s supplemental briefing to defendant’s motion, Docket No. 166, be

 4 due on September 1, 2020.

 5                 b)      The government’s opposition or response to defendant’s motion and supplement

 6 be due on September 15, 2020; and

 7                 b)      The defense reply, if any, will be due on September18, 2020.

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 9          IT IS SO STIPULATED.

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                                                         McGREGOR W. SCOTT
11                                                       United States Attorney
12   Dated: July 17, 2020
                                                         /s/ Kimberly A. Sanchez
13                                                       KIMBERLY A. SANCHEZ
                                                         Assistant United States Attorney
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15
     Dated: July 17, 2020                                /s/ Michael Long
16                                                       MICHAEL LONG
                                                         Counsel for Defendant Kenneth Hernandez
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 1                                                 ORDER

 2         Based upon the stipulation and representations of the parties, the Court adopts the proposed

 3 revised briefing schedule as follows:

 4                 a)     The defendant’s supplemental briefing to defendant’s motion, Docket No. 166, is

 5 due on September 1, 2020.

 6                 b)     The government’s opposition or response to defendant’s motion and supplement

 7 is due on September 15, 2020; and

 8                 c)     The defense reply, if any, is due on September18, 2020.

 9 IT IS SO ORDERED.

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        Dated:    July 20, 2020
11                                                   UNITED STATES DISTRICT JUDGE
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